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                                                                                                United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                          April 28, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

    In re:                                                 §
                                                           §            Case No. 22-60043
    FREE SPEECH SYSTEMS, LLC,                              §
                                                           §
                                      DEBTOR.              §            Chapter 11 (Subchapter V)
                                                           §

ORDER GRANTING DEBTOR’S MOTION FOR ORDER APPROVING SETTLEMENT

             The Court, having considered the Debtor’s Motion for Order Approving Settlement (the

“Motion”), 1 any responses to the Motion, the statements of counsel, and the record in this case,

finds that: (a) it has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (b) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (c) the relief requested in the Motion is in the best

interests of the Debtor’s estate, its creditors, and other parties-in-interest; (d) proper and adequate

notice of the Motion has been given and no other or further notice is necessary; and (e) good and

sufficient cause exists to grant the relief requested. Therefore, IT IS HEREBY ORDERED THAT:
1.   For the reasons stated on the record at the April 28, 2023 hearing, the Motion is
GRANTED as set forth herein.

 2.      In full satisfaction of any and all claims or rights to payment from the Debtor and
its estate, Shannon & Lee LLP (“S&L”) shall receive the $50,822.68 prepetition retainer held by

S&L from the Debtor (the “S&L Retainer”). S&L is authorized to take possession of the S&L

Retainer upon entry of this Order.

             3.     In full satisfaction of any and all claims or rights to payment from the Debtor and

its estate, Schwartz Associates LLC (“SALLC”) shall receive the $75,000.00 prepetition retainer

held by SALLC (the “SALLC Retainer”). SALLC is authorized to take possession of the SALLC

Retainer upon entry of this Order.


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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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       4.     The Parties are authorized to take any and all actions necessary and appropriate to

implement and carry out the provisions of the Settlement.

       5.     This Court shall retain exclusive jurisdiction with respect to all matters relating to

the interpretation or implementation of this Order or the Settlement Agreement.




        August
        April 28, 02,
                  20232019




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